Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 1 of 17 - Page ID#:
                                    1587



                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT LEXINGTON
                                CASE NO. 5:22-cv-231-DCR

 EUGENE BAKER, et al.                            )
                                                 )
               Plaintiffs,                       )
                                                 )
v.                                               )
                                                 )
 BLACKHAWK MINING, LLC, and                      )
 PINE BRANCH MINING, LLC                         )
                                                 )
               Defendants.                       )


     DEFENDANTS’ MOTION TO DISMISS WITH PREJUDICE FOR FAILURE TO
                      PARTICIPATE IN DISCOVERY
                              **********

       Defendants Blackhawk Mining, LLC (“Blackhawk”) and Pine Branch Mining, LLC (“Pine

Branch” and together with Blackhawk the “Defendants”), by and through counsel, and pursuant to

Federal Rules of Civil Procedure 37, 41, 25, and 17 respectfully request that this Court dismiss,

with prejudice, the twenty-three Plaintiffs identified herein who have failed to participate in

discovery as required by the Civil Rules and the Orders of this Court. In support of this Motion,

Defendants state as follows:

                                       INTRODUCTION

       This Court has granted Plaintiffs multiple extensions of time to respond to the Defendants’

Discovery Requests, entered an Order compelling Plaintiffs to provide full discovery responses,

and even warned of dismissal if Plaintiffs did not provide those responses. Nevertheless, certain

Plaintiffs are still in default of their written discovery obligations. Others have failed multiple

times to appear for their duly noticed depositions and/or refused to permit inspection of the

property that they claim has been damaged.
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 2 of 17 - Page ID#:
                                    1588



           As set forth herein, Defendants request that judgment be entered against the following

Plaintiffs with prejudice as a result of their failure to provide discovery, comply with this Court’s

Orders, and to appear for depositions:

                         1. Cesar Henson
                         2. Martin Moore
                         3. Whittney Moore
                         4. Johnny Mullins
                         5. Teresa Mullins
                         6. Tabitha Patrick
                         7. Dana Watts
                         8. Tammy White
                         9. James Henson
                         10. Clarissa Mullins
                         11. Megan White1
                         12. Bridgette Fugate
                         13. Diana Ortela
                         14. Burley White
                         15. Denita White
                         16. Debbie Watts
                         17. Adam White
                         18. Megan White
                         19. Amy Dryden
                         20. Bruce Dryden
                         21. Harold Ray White
                         22. Matthew White
                         23. Rose White

                                           DISCOVERY VIOLATIONS

           Defendants served their First Set of Discovery Requests on December 22, 2022. See (Status

Report, DE 36); (Blackhawk and Pine Branch’s Discovery Requests, Ex. 1).2 Under the Federal

Rules, the Plaintiffs had 30 days in which to respond to these requests and the Court set an outside

deadline of February 3, 2023 to respond to all written discovery and a final deadline of March 6,

2023 for the completion of written discovery. (Prelim. Sched. Order, DE 15).




1
    As noted, herein, there are two Megan Whites named as Plaintiffs.
2
    As additional Plaintiffs were added to this action, these requests were served on the new Plaintiffs as well.


                                                             2
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 3 of 17 - Page ID#:
                                    1589



         Because Plaintiffs had not all responded to written discovery by March 6th, the Defendants

agreed to jointly request that the Court extend the deadline for the Plaintiffs’ responses to written

discovery until May 4, 2023, which the Court granted. (Status Report and Order, DE 36 and 37).

The May 4th deadline passed and a number of Plaintiffs had provided woefully deficient responses

and still others had failed to even respond at all. The Defendants wrote 73 deficiency letters to try

to address deficient discovery responses from Plaintiffs.

         Certain Plaintiffs thereafter moved the Court for another extension of time, which the

Defendants did not object to given the need for the information. (Mtn. for Ext. and Resp., DE 46

and 48). The Plaintiffs’ request for an extension was granted and the Court gave Plaintiffs until

June 20, 2023 to provide responses to the written discovery requests. (Order on Mtn. for Ext., DE

49).

         A. Plaintiffs That Have Failed to Provide Any Written Discovery Responses.

         On June 8, 2023, Plaintiffs’ counsel requested to withdraw as counsel for nineteen

Plaintiffs, asserting that counsel had not been able to reach those Plaintiffs for a number of months

and/or they had failed to answer discovery. (Mtn. to Withdraw and Am. Mtn. to Withdraw, DE 52

and 55). On June 9, 2023, the Court granted counsel’s Motion and directed that each of the

identified Plaintiffs (Cesar Henson, Danny Lee Hurt, Martin Moore, Whittney Moore, Johnny

Mullins, Teresa Mullins, Denise Neace, Jervis Neace, Charlie Noble, Gail Noble, Tabitha Patrick,

Dana Watts, Paul Anthony Watts, Virginia Watts, David Wayne White, Polly White, and Tammy

White)3 respond to all outstanding discovery by no later than July 7, 2023 and notify the Court of

whether they elect to proceed pro se, or have retained new counsel by that date as well. (Order on

Mtn. to Withdraw and Am. Mtn. to Withdraw, DE 54 and DE 56). Nearly every Plaintiff subject


3
  Two additional Plaintiffs that were named in Plaintiffs’ counsel’s motion had never actually been named as Plaintiffs
in the first place: Cheryl Henson and Jeffery Thomas Howard.


                                                          3
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 4 of 17 - Page ID#:
                                    1590



to the Court’s Order failed to respond as required and, in recognition of as much, this Court sua

sponte dismissed a number of those Plaintiffs. (Order of Dismissal, DE 100) (dismissing Charlie

Noble, Danny Lee Hurt, Denise Neace, Gail Noble, Paul Anthony Watts, Polly White, and Virginia

Watts). Eight more Plaintiffs subject to the Order remain parties to this action but have never

provided any written discovery responses: Cesar Henson, Martin Moore, Whittney Moore, Johnny

Mullins (who is not the same as Johnny E. Mullins), Teresa Mullins, Tabitha Patrick, Dana Watts,

and Tammy White.

        With respect to the Plaintiffs not subject to the June 9th withdrawal Order, after the new

discovery deadline of June 20, 2023 passed, the Defendants requested a conference with the

Magistrate Judge to address the remaining substantial discovery deficiencies that remained. (June

21, 2023 Ltr., Ex. 2). In response to Defendants’ meet and confer letter, the Plaintiffs represented

that they intended to produce all outstanding information during the week of June 25, 2023, and

the discovery conference with the Magistrate Judge was cancelled. (6/26/23 Email Chain, Ex. 3).

        However, a number of Plaintiffs still did not comply, failing to turn over any written

responses to discovery at all, including James Henson,4 Clarissa Mullins, and Megan White.5 Thus,

in all, there are eleven Plaintiffs who remain parties to this litigation, but have failed to provide

any written responses to discovery:

                      1.   Cesar Henson
                      2.   Martin Moore
                      3.   Whittney Moore
                      4.   Johnny Mullins
                      5.   Teresa Mullins

4
  James Henson has produced a social security card, a driver’s license, and several photographs but has not produced
any other documents requested by Defendants nor provided sworn, individualized responses to Defendants’
interrogatories.
5
  Two Megan Whites are named as Plaintiffs in the operative Third Amended Complaint. (Third Am. Compl., DE 70).
One Megan White, discussed separately below for different reasons, is a bellwether Group I Plaintiff who provided
limited discovery. To the extent, however, there is a second Megan White who asserts claims in this case (which is
unclear since she has not produced discovery), Defendants request that she be dismissed.



                                                         4
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 5 of 17 - Page ID#:
                                    1591



                   6. Tabitha Patrick
                   7. Dana Watts
                   8. Tammy White
                   9. James Henson
                   10. Clarissa Mullins
                   11. Megan White

Unless noted otherwise above, each of these individuals has also failed to produce any documents

in response to Defendants’ document requests.

        B. Seven Plaintiffs Have Failed to Turn Over Relevant Documents In Accordance With
           Judge Stinnett’s Order.

        In addition to the eleven Plaintiffs noted above that have failed to provide written discovery

responses, seven additional Plaintiffs have also failed to produce documents responsive to the

Defendants’ requests despite a Court Order directing them to do so. Nearly every Plaintiff that

Defendants have deposed identified relevant documents or communications responsive to the

Defendants’ requests within their possession and control that had not been produced. (Nov. 27,

2023 Ltr. to Pillersdorf, Ex. 4). Defendants asked Plaintiffs’ counsel to produce these documents

during depositions and in later communications. (Nov. 27, 2023 Email String, Ex. 5); (Nov. 27,

2023 Ltr. to Pillersdorf, Ex. 4). When the documents were not produced, Defendants requested a

conference with the Magistrate Judge. Judge Stinnett observed in his Order following the

conference that the Plaintiffs had acknowledged their deficiencies, did not dispute the relevance

of the documents at issue, and required that “all outstanding responses to written discovery” be

provided by the Plaintiffs by no later than 5:00 pm on December 19, 2023. (Minute Order, DE

104).

        While certain Plaintiffs complied with the Order, making supplemental productions, others

did not. See, e.g., (Dec. 15, 2023, “Compliance List,” Ex. 6). The following individuals failed to

provide responsive documents following entry of the Magistrate Judge’s Order:




                                                  5
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 6 of 17 - Page ID#:
                                    1592



              1.   Bridgette Fugate
              2.   Diana Ortela
              3.   Burley White
              4.   Denita White
              5.   Debbie Watts
              6.   Adam White
              7.   Megan White

The categories of items they failed to produce include proof that they own items they claim

damages for, documents and other sources of information on which they testified they relied in

coming up with their damage calculations, pre- and post-flood photographs and videos of their

properties that they claim has been damaged, communications related to the flood event, and

receipts related to repairs and replacement following the flood.6 (Nov. 27, 2023 Ltr. to Pillersdorf,

Ex. 4).

          C. Plaintiffs That Failed to Appear for Their Deposition or Permit Inspection of Their
             Property.

          In addition to the Plaintiffs identified above that have failed to properly participate in the

written discovery process, others have failed to appear for their depositions on numerous occasions

and have refused to permit inspection of their property in this case which centers, primarily, on

property damage.

          The depositions of Matthew White, Rose White, Harold Ray White, and Amy Dryden were

originally noticed on September 18, 2023. (Notice of Deposition, DE 80). Matthew and Rose

White’s depositions were noticed for October 24, 2023, Harold Ray White’s deposition was

noticed for October 25, 2023, and Amy Dryden’s deposition was noticed for October 31, 2023.

(Id.). All depositions were noticed for Plaintiffs’ counsel’s office in Jackson, Kentucky. (Id.).




6
  Although Plaintiffs’ counsel has at times tried to argue that a number of the items requested were destroyed during
the July 2022 flood, the items identified here are items that these Plaintiffs testified they believed they have access to
– i.e. they were not destroyed during the flood event.


                                                            6
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 7 of 17 - Page ID#:
                                    1593



        On September 29, 2023, Plaintiffs’ counsel served Defendants with a statement noting the

death of Plaintiff Matthew White and contending that Plaintiff Rose White is incompetent and

therefore could not sit for a deposition. (September 29, 2023 Email, Ex. 7).7 Defendants

accordingly filed a notice objecting to Matthew and Rose Whites’ capacity to maintain an action

on October 18, 2023. (Notice and Objection, DE 85). Plaintiffs never substituted an administrator

of an estate for Matthew White or a guardian for Rose White.

        Defense counsel traveled to Jackson, Kentucky on October 25, 2023 and October 31, 2023

for the depositions of Harold Ray White and Amy Dryden but both failed to appear. (Notices of

Failure to Appear, DE 87 and 89); (Certificate of Non-Appearance, Ex. 8). For Amy Dryden,

Plaintiffs alleged that the deposition had “slipped [her] mind[]” due to her husband Plaintiff Bruce

Dryden’s bout of gangrene. (Resp. to Notice, DE 91).

        Defendants re-noticed the depositions of Amy Dryden and Harold Ray White for

December 5, 2023. (Am. Notice of Deposition, DE 101). These depositions were postponed again

due to scheduling conflicts that had arisen for Plaintiffs’ counsel and re-noticed for January 16,

2024. (Additional Notices of Deposition, DE 103 and 107).

        On January 12, 2024, Plaintiffs’ counsel sent a letter indicating that: (a) Amy Dryden had

been hospitalized; and (b) Harold Ray White was not reachable by phone but had been sent a letter

regarding his deposition. (January 12, 2024 Letter, Ex. 9). Given the hospitalization issue and

inclement weather, Defendants again agreed to reschedule the depositions. (January 15 to January

18, 2024 Emails, Ex. 10). The depositions were re-noticed for February 7, 2024. (Third Amended

Notice of Depositions, DE 121).




7
 See also Matthew White Obituary, available at https://m.wattsfuneralhomekentucky.com/obituaries/events?obituar
yId=27876384.


                                                       7
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 8 of 17 - Page ID#:
                                    1594



       On February 6, 2024, Plaintiffs’ counsel advised that Amy Dryden was too ill to appear for

her deposition and she did not appear on February 7th. (February 6, 2024 Email, Ex. 11). Harold

Ray White also failed to appear for his deposition on February 7th. (Notices of Plaintiffs’ Failures

to Appear for Depositions, DE 133).

       Additionally, on December 14, 2023, Plaintiffs’ counsel agreed to a December 28, 2023

inspection of the Plaintiffs’ property. (Dec. 14, 2023 Email Chain, Ex. 12). A formal Notice was

issued for the inspection. (Notice of Inspection, DE 112). When Defendants’ counsel attempted to

view Amy and Bruce Dryden’s home from the public roadway, the Drydens confronted them and

demanded that they leave the area even after counsel explained who they were and that Plaintiffs’

counsel had agreed to an inspection. (Dec. 29, 2023 Email, Ex. 13).

       The above named Plaintiffs’ failure to respond to discovery, appear for deposition,

disobedience of the Court’s Orders, and refusal to permit a properly noticed inspection, even from

a public roadway, are all discovery violations that warrant judgment being granted against the

named Plaintiffs.

                                          ARGUMENT
  I.   Judgment Should Be Granted Dismissing the Claims of the Identified Plaintiffs as a
       Result of Their Failure to Fully Respond to Written Discovery, Appear for
       Depositions, and/or Permit Inspection of Their Property.
       Sanctions are warranted when a Plaintiff refuses to uphold its discovery obligations.

Dismissal with prejudice is the appropriate sanction in this case for Plaintiffs’ blatant refusal to

comply with discovery rules and the Orders of the Court related to discovery.

       Federal Rule of Civil Procedure 37 provides that a party may be subject to sanctions for

failing to serve responses to written discovery requests and for failure to appear at their properly

noticed deposition:




                                                 8
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 9 of 17 - Page ID#:
                                    1595



       (A) Motion; Grounds for Sanctions. The court where the action is pending may,
       on motion, order sanctions if:

               (i) a party or a party’s officer, director, or managing agent—or a person
       designated under Rule 30(b)(6) or 31(a)(4)—fails, after being served with proper
       notice, to appear for that person’s deposition; or

               (ii) a party, after being properly served with interrogatories under Rule 33
       or a request for inspection under Rule 34, fails to serve its answers, objections, or
       written response.

Fed. R. Civ. P. 37(d)(1)(A). Sanctions are also appropriate when a Plaintiff fails to comply with

the Court’s orders on discovery and the sanctions available under both scenarios include

“dismissing the action or proceeding in whole or in part.” Fed. R. Civ. P. 37(d); Fed. R. Civ. P.

37(b)(2)(A)(v).

       Additionally, Rule 41(b) provides that “[i]f the plaintiff fails to prosecute or to comply with

these rules or a court order, a defendant may move to dismiss the action or any claim against it.

Unless the dismissal order states otherwise, a dismissal under this subdivision (b) and any

dismissal not under this rule—except one for lack of jurisdiction, improper venue, or failure to join

a party under Rule 19—operates as an adjudication on the merits.” Fed. R. Civ. P. 41(b).

           A. The Identified Plaintiffs Have Failed to Comply With Discovery Obligations.

       Cesar Henson, Martin Moore, Whittney Moore, Johnny Mullins, Teresa Mullins, Tabitha

Patrick, Dana Watts, Tammy White, James Henson, Clarissa Mullins, and Megan White have

failed to provide any written responses to the discovery requests Defendants served over a year

ago. Bridgette Fugate, Diana Ortela, Burley White, Denita White, Debbie Watts, Adam White,

and Megan White have also refused to turn over documents that their counsel admitted were

responsive and relevant. All of these Plaintiffs were under orders from this Court to provide

complete and full responses to discovery by no later than June 20, 2023, and the latter group was




                                                 9
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 10 of 17 - Page ID#:
                                    1596



 compelled to produce the relevant documents pursuant to the Order from Magistrate Judge Stinnett

 issued on December 5, 2023. (Order on Mtn. for Ext. of Time and Minute Order, DE 49 and 104).

          Amy Dryden and Harold Ray White also failed to appear for their depositions on four

 different occasions and Amy and Bruce Dryden refused to allow the Defendants to view their

 property --- which they allege was damaged by the Defendants, even though their counsel had

 agreed to an inspection.

               B. The Appropriate Sanction is Dismissal of These Plaintiffs’ Claims with
                  Prejudice.

          Defendants have tried in earnest to compel the identified Plaintiffs to participate in

 discovery for well over a year. Defendants have also agreed to give the Plaintiffs more time than

 even the Federal Rules allow for responding to discovery. Yet, Plaintiffs have still not met their

 obligations. Accordingly, the Court should dismiss their claims with prejudice.8

          When determining if dismissal is an appropriate sanction under Rule 37, courts should

 consider whether the plaintiff’s failure to participate in discovery is due to willfulness and bad

 faith; whether the adversary was prejudiced by the plaintiff’s conduct; whether the plaintiff was

 warned that failure to cooperate could lead to dismissal; and whether less drastic sanctions can be

 imposed before dismissal is ordered. United States v. Reyes, 307 F.3d 451, 458 (6th Cir. 2002)

 (citing Knoll v. AT&T, 176 F.3d 359, 363 (6th Cir. 1999)).9 “Although no one factor is dispositive,

 dismissal is proper if the record demonstrates delay or contumacious conduct.” Reyes, 307 F.3d at


 8
   “Dismissal as a sanction for failing to comply with discovery has been upheld because it accomplishes the dual
 purpose of punishing the offending party and deterring similar litigants from such misconduct in the future.” Bass v.
 Jostens, Inc., 71 F.3d 237, 241 (6th Cir. 1995) (citing National Hockey League v. Metropolitan Hockey Club, Inc.,
 427 U.S. 639 (1976)). (citing National Hockey League v. Metropolitan Hockey Club, Inc., 427 U.S. 639 (1976)).
 Notably, the Sixth Circuit has “never held that a district court is without power to dismiss a complaint, as the first and
 only sanction.” Brewer v. Detroit Pub. Schs. Cmty. Dist., No. 20-2068, 2021 U.S. App. LEXIS 36786, at *8 (6th Cir.
 Dec. 13, 2021) (quoting Harmon, 110 F.3d at 368).
 9
   These factors also guide the analysis when a plaintiff is in violation of an order requiring discovery. See Schafer v.
 City of Defiance Police Dep’t., 529 F.3d 731, 736-37 (6th Cir. 2008); Resch v. Lambart, Case No. 1:21-cv-967, 2023
 U.S. Dist. LEXIS 229297 at *2-3 (W.D. Mich. Dec. 27, 2023).


                                                            10
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 11 of 17 - Page ID#:
                                    1597



 458. Further, the party opposing dismissal bears “the burden of showing that his failure to comply

 was due to inability, not willfulness or bad faith.” Id. (citing Regional Refuse Sys., Inc. v. Inland

 Reclamation Co., 842 F.2d 150, 154 (6th Cir. 1988)). Dismissal is the appropriate sanction in this

 case. Here, all of the Rule 37 factors are present.

                     i. Plaintiffs’ Conduct Demonstrates Willfulness and Bad Faith.

        Plaintiffs have been given ample opportunity to produce discovery responses as a result of

 multiple extensions of this Court’s scheduling orders. (Prelim. Sched. Order, DE 15); (Scheduling

 Order, DE 37); (Scheduling Order, DE 49). They have also been ordered multiple times to provide

 written discovery responses and responsive documents. (Order on Mtn. to Withdraw, DE 54);

 (Order on Amen. Mtn. to Withdraw, DE 56); (Minute Order, DE 104). Despite this, they have

 failed to provide full and complete responses.

        Similarly, because appearing for a deposition is “one of the most basic duties of a plaintiff,”

 courts in this Circuit frequently dismiss actions when a plaintiff fails to attend their deposition,

 and the Sixth Circuit commonly affirms such decisions. Moore v. Erickson, No. 22-2134, No. 22-

 2134, 2023 U.S. App. LEXIS 26639, at *10 (6th Cir. Oct. 5, 2023) (unpublished); Maldonado v.

 Thomas M. Cooley Law Sch., 65 F. App’x 955, 957 (6th Cir. 2003); Woodson v. Morris, No. 94-

 6608, 1995 U.S. App. LEXIS 35514, at *3 (6th Cir. Nov. 17, 1995) (unpublished); Resch, 2023

 U.S. Dist. LEXIS 229297, at *2-5; Hathaway v. Cty. of Memphis, No. 13-02688, 2016 U.S. Dist.

 LEXIS 178699, at *10-13 (W. D. Tenn. Dec. 27, 2016); Powell v. Cont’l Cas. Co., Case No. 1:09-

 cv-710, 2010 U.S. Dist. LEXIS 139626, at *4-6 (S.D. Ohio Nov. 16, 2010). Although Ms.

 Dryden’s circumstances related to her health are unfortunate, the fact remains that the Defendants

 attempted to schedule her deposition on four different occasions and emphasized on the fourth

 occasion how critical it was that she appear given the impending close of discovery. She and Bruce




                                                  11
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 12 of 17 - Page ID#:
                                    1598



 Dryden also blatantly interfered with the Defendants’ efforts to inspect their property, even from

 the public roadway. Harold Ray White has offered no excuse at all for his failure to appear for

 deposition.

         These Plaintiffs’ dilatory and “stubbornly disobedient” behavior evidences a “reckless

 disregard for the effect of [Plaintiffs’] conduct on [these judicial] proceedings” as well as the

 Court’s Orders. Carpenter v. Cty. of Flint, 723 F.3d 700, 705 (6th Cir. 2013) (quoting Schafer 529

 F.3d at 737; Wu v. T.W. Wang, Inc., 420 F.3d 641, 643 (6th Cir. 2005)).

                    ii. Defendants Have Been Prejudiced.

         Moreover, Defendants have consistently been “required to waste time, money, and effort

 in the pursuit of cooperation which [the plaintiffs] [were] legally obligated to provide”. Id. at 707

 (quoting Harmon v. CSX Transp., Inc., 110 F.3d 364, 368 (6th Cir. 1997)). Defendants’ diligent,

 yet costly, efforts to obtain full and complete written discovery responses include, but are not

 limited, to the multiple attempts to meet and confer through correspondence with Plaintiffs’

 counsel (including the over 73 deficiency letters sent to Plaintiffs’ counsel), phone calls with

 Plaintiffs’ counsel, and a conference with the Magistrate Judge. They also appeared for depositions

 that the referenced Plaintiffs failed to attend and took great efforts to try and reschedule depositions

 that the Plaintiffs still did not attend. Moore, 2023 U.S. App. LEXIS 26639, at *7.

        Defendants are also prejudiced because they are “entitled to full discovery,” including

 complete responses to their interrogatories and requests for production, “so that [they] [can] defend

 . . . against [Plaintiffs’] claims.” Brewer, 2021 U.S. App. LEXIS 36786, at *8. Without question,

 the discovery sought in this case related to the flood event and the Plaintiffs’ damages is absolutely

 necessary in order for the Defendants’ to mount a proper defense to these Plaintiffs’ claims.

 Plaintiffs have “severely hampered Defendant[s’] ability to obtain the discovery necessary to




                                                   12
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 13 of 17 - Page ID#:
                                    1599



 defend this action” by failing to appear for their depositions as well. Messer v. Quality Care, Civil

 No. 3:19-cv-00019-GFVT-EBA, 2021 U.S. Dist. LEXIS 232168, at *3 (E.D. Ky. April 12, 2021).

                   iii. Plaintiffs Have Been Warned That Failure to Cooperate May Lead to
                        Dismissal.

        Plaintiffs have also been on notice that failure to fully participate in discovery may result

 in dismissal since nearly the outset of this case. In February 2023, Plaintiffs’ counsel advised their

 clients that noncompliance could lead to dismissal of their claims. (Feb. 22, 2023 Ltr., Ex. 14);

 (Status Report, DE 38) (discussing these communications and subsequent efforts to obtain

 discovery in March 2023). This is in addition to this Court’s own Order warning of dismissal for

 failure to participate in discovery. (Orders on Mtn. to Withdraw and Am. Mtn. to Withdraw, DE

 54 and 56). Plaintiffs’ counsel also stated during the December 2023 conference with the

 Magistrate Judge that he intended to hold a meeting with his clients between Christmas and New

 Year in which he intended to convey to them that if they did not participate in discovery, dismissal

 of their claims was an option.

                    iv. Less Drastic Sanctions Would Be Ineffective.

        Finally, given the multiple extensions already granted for Plaintiffs to properly respond to

 discovery, and the numerous efforts made to reschedule the referenced depositions, it is likely that

 “less drastic sanctions [than dismissal with prejudice]. . . would have no effect on [Plaintiffs’]

 conduct.” Brewer, 2021 U.S. App. LEXIS 36786, at *9 (affirming dismissal with prejudice for,

 inter alia, failure to respond to written discovery requests); see also, e.g., Lay v. Altrichter, No.

 6:20-CV-18-REW-HAI, 2020 U.S. Dist. LEXIS 94819, at *10 (E.D. Ky. June 1, 2020) (Rule 41(b)

 dismissal is “typically with prejudice”). The fact that the Plaintiffs have had ample opportunities

 to participate in discovery but have consistently failed to do so, evidences an effective

 abandonment of their case. Lay, 2020 U.S. Dist. LEXIS 94819, at *12 (citing Beekman v. Wilkie,



                                                  13
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 14 of 17 - Page ID#:
                                    1600



 No. 18-CV-12878, 2019 U.S. Dist. LEXIS 25129, at *6 (E.D. Mich. Jan. 8, 2019)).10 As such, the

 identified Plaintiffs’ claims should be dismissed with prejudice.

  II.     Judgment Should Be Granted Dismissing the Claims Asserted by Matthew White and
          Rose White Given the Failure of the Plaintiffs to Substitute.

          The claims asserted by Matthew White and Rose White should also be dismissed. Fed. R.

 Civ. P. 25(a)(1) requires dismissal of a deceased Plaintiff’s claims if no motion for substitution is

 made within “90 days after service of a statement noting the death” of the Plaintiff and the

 Plaintiff’s claims are not extinguished.”11 Fed. R. Civ. P. 25(a)(1); Viner v. United States, NO. 20-

 22-DLB-EBA, 2022 U.S. Dist. LEXIS 222179, at *4 (E.D. Ky. Dec. 9, 2022) (dismissal required

 under Rule 25(a) when no motion to substitute is made within 90 days of the statement noting

 death). Further, if “a party becomes incompetent while the action is pending,” and if an “objection

 has been made that the person deemed incompetent is not the real party in interest,” dismissal is

 appropriate if, after a reasonable time, a guardian is not appointed and substituted as the real party

 in interest. Kuelbs v. Hill, 615 F.3d 1037, 1042-43 (8th Cir. 2010); Fed. R. Civ. P. 25(b); Fed. R.

 Civ. P. 17(a)(3).

          Defendants properly noticed these Plaintiffs’ depositions on September 18, 2023, after

 which Plaintiffs’ counsel served, on September 29, 2023, a statement noting Matthew White’s

 death and claiming that Rose White is incompetent. Defendants thereafter filed a notice

 documenting this communication and objecting to Matthew and Rose White’s capacity to bring an

 action on October 18, 2023. (Notice and Objection, DE 85). More than five months have passed

 without any attempt by the Plaintiffs to substitute a representative of Mr. White’s estate or a


 10
    While some of the Plaintiffs have produced some documents, depositions revealed that their productions were
 incomplete and they ignored Magistrate Judge Stinnett’s December 5, 2023 order requiring production of the
 additional responsive materials identified through their depositions.
 11
    Death does not extinguish Plaintiff Matthew White’s claims for injury to real or personal property at issue in this
 motion. KRS § 411.140.


                                                          14
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 15 of 17 - Page ID#:
                                    1601



 guardian for Ms. White and discovery has now closed. Dismissal is thus warranted under Rules 25

 and 17.

           Further, Plaintiffs’ failure to move to substitute and coordinate depositions for substituted

 parties before the close of discovery also amounts to a failure to prosecute under Rule 41(b). Fed.

 R. Civ. P. 41(b) (“If the plaintiff fails to prosecute or to comply with these rules . . . a defendant

 may move to dismiss the action or any claim against it.”). “[A]t best, [Plaintiffs were] extremely

 dilatory in not pursuing [their] claim[s],” evidencing “an intention to allow [their] case to lapse.”

 Kovacic v. Tyco Valves & Controls, LP, 433 F. App’x 376, 380 (6th Cir. 2011) (quoting Schafer,

 529 F.3d at 739). Defendants are as well prejudiced because they were not given the opportunity

 to depose any individuals who might pursue Matthew and Rose White’s claims and discovery is

 now closed.

           Given the circumstances, these claims should be dismissed with prejudice as well. See,

 e.g., Lay, 2020 U.S. Dist. LEXIS 94819, at *10; Grove v. Ohio Dep’t of Rehab. & Corr., No. 2:18-

 cv-1492, 2021 U.S. Dist. LEXIS 175083, at *3 (S.D. Ohio Sept. 15, 2021) (citing Greene v.

 JPMorgan Chase Bank, Nat’l Ass’n, No. 3:18-CV-00509, 2019 U.S. Dist. LEXIS 179084, at *6

 n.1 (M.D. Tenn. Oct. 15, 2019) (dismissal with prejudice is appropriate where there is no motion

 to substitute or “any other filings indicating an intention to pursue” a deceased party’s claims);

 Hawks v. John & Jane Does, NO. 3:10CV-169-S, 2013 U.S. Dist. LEXIS 8766, at *2 (W.D. Ky.

 Jan. 22, 2013) (dismissing the case with prejudice for failure to file a timely motion to substitute

 pursuant to Rule 25(a)(1)).

                                            CONCLUSION

           WHEREFORE, for any and all of the above stated reasons, judgment should be granted

 dismissing, with prejudice, the claims of the identified Plaintiffs.




                                                    15
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 16 of 17 - Page ID#:
                                    1602



                                                    Respectfully submitted,

                                                    /s/ Grahmn N. Morgan
                                                    Grahmn N. Morgan (KBA #89219)
                                                    Kristeena L. Johnson (KBA #94994)
                                                    James M. McClure (KBA #99580)
                                                    DINSMORE & SHOHL LLP
                                                    100 W. Main St., Suite 900
                                                    Lexington, KY 40507
                                                    T: (859) 425-1000
                                                    F: (859) 425-1099
                                                    grahmn.morgan@dinsmore.com
                                                    kristeena.johnson@dinsmore.com
                                                    mac.mcclure@dinsmore.com

                                                    Ashley L. Pack (KBA #89013)
                                                    707 Virginia St. E, Suite 1300
                                                    Charleston, WV 25301
                                                    T: (304) 357-0900
                                                    F: (304) 357-0919
                                                    ashley.pack@dinsmore.com

                                                    and

                                                    R. Clay Larkin
                                                    Dentons Bingham Greenebaum LLP
                                                    300 West Vine Street, Suite 1200
                                                    Lexington, KY 40507
                                                    T: (859) 231-8500
                                                    clay.larkin@dentons.com
                                                    Counsel for Defendants


         CERTIFICATE PURSUANT TO FED. R. CIV. P. 37(d)(1)(B) and LR 37.1
         Pursuant to Fed. R. Civ. P. 37(d)(1)(B) and LR 37.1, the undersigned certifies that the
 Defendants have in good faith attempted to confer with the Plaintiffs in an effort to obtain the
 identified discovery without court action. The efforts made by the Defendants to compel
 production of the identified discovery include multiple agreements to extensions for time to
 respond to discovery, numerous letters attempting to meet and confer, multiple attempts to
 reschedule depositions, and even a conference with the Magistrate Judge. These measures have all
 failed to compel the identified Plaintiffs to properly participate in discovery.
                                                    /s/ Grahmn N. Morgan
                                                    Counsel for Defendants




                                               16
Case: 5:22-cv-00231-DCR-MAS Doc #: 144 Filed: 03/12/24 Page: 17 of 17 - Page ID#:
                                    1603




                                  CERTIFICATE OF SERVICE
         This is to certify that I electronically served and filed the foregoing with the Clerk of the
 Court using the CM/ECF system on this 12th day of March, 2024, which will give notice to all
 parties of record.


                                                       /s/ Grahmn N. Morgan
                                                       Counsel for Defendants




                                                  17
